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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Case No. 23-cr-341 (RBW)
                                              :
ANNA LICHNOWSKI,                              :
                                              :
                Defendant.                    :

               GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                  TO EXTEND DEADLINES FOR FILING MOTIONS

       The United States hereby respectfully responds to the defendant’s motion to extend the

time for filing motions, Doc. 36. As the defendant notes, the government consented to defendant’s

proposal—however, the government understood the requested relief to apply to both parties and

not only the defendant’s deadlines. Thus, provided that the time to file motions is extended for the

government as well as the defendant, the government consents to extending those deadlines.

                                              Respectfully submitted,


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